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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                         HARRISONBURG DIVISION

 UNITED STATES OF AMERICA )
                          )
 v.                       )                 Case No. 5:18cr5
                          )
 JUDITH WRIGHT            )                 Hon. Elizabeth K. Dillon

                                 Motion to Seal Exhibit

      Comes now Judith Wright, by counsel, and moves to submit Exhibit A to her

Motion for Compassionate Release under seal. This document contains confidential

medical information which cannot be feasibly redacted, and thus no feasible

alternative to sealing exists.

                                                    Respectfully submitted,

                                                    Judith Wright

                                                    By Counsel
                                                    s/ Erin Trodden
                                                    Erin Trodden
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Case 5:18-cr-00005-EKD Document 468 Filed 07/02/20 Page 2 of 2 Pageid#: 2308




                            CERTIFICATE OF SERVICE
       I hereby certify that on July 2, 2020, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following: counsel of record; and I hereby certify that I have
mailed by United States Postal Service the document to the following non-CM/ECF
participants: none.


                                                      s/ Erin Trodden
